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                                                         June 25, 2024
VIA ECF
Honorable Julien Xavier Neals, U.S.D.J.
United States District Court
Martin Luther King Federal Building
50 Walnut Street
Newark, New Jersey 07102

Re:      In re: Apple Inc. Smartphone Antitrust Litigation,
         Civil Action No. 2:24-md-03113-JXN-LDW (MDL 3113)

Dear Judge Neals:

        This firm, together with Gibson, Dunn & Crutcher LLP, represents Defendant Apple Inc.
(“Apple”) in the above-referenced multidistrict litigation (“MDL”). I write in response to the letter
and proposed Case Management Order (“CMO”) submitted by James E. Cecchi on June 20, 2024.
See Dkt. 2. Mr. Cecchi purports to represent plaintiffs in six of 36 direct purchaser actions that,
along with an additional eight1 indirect purchaser actions, have recently been ordered consolidated
before the Court in this MDL. Apple submits that Mr. Cecchi’s letter and proposed CMO—which
he sent without first meeting and conferring with Apple—are premature and that case management
should be addressed at a later date, after coordination counsel has been appointed and the parties
have had an opportunity to meet and confer about a proposed schedule and case management
structure.

         Litigation Background

        On March 21, 2024, the United States and sixteen states filed a complaint in the District of
New Jersey against Apple. See United States v. Apple Inc., 2:24-cv-04055 (D.N.J.), Dkt. 1. On
June 11, 2024, plaintiffs amended their complaint to reflect that four additional states joined the
lawsuit and to add a cause of action. Dkt. 51. Apple vigorously disputes the complaint’s
allegations that Apple unlawfully monopolized or attempted to monopolize a smartphone (or, in
the alternative, “performance” smartphone) market under Section 2 of the Sherman Act, 15 U.S.C.
§ 2, and certain state antitrust laws.

        Since the Government filed suit, 41 putative class actions, alleging claims on behalf of both
direct and indirect iPhone and/or Apple Watch purchasers, have been filed by private plaintiffs in
several federal district courts across the country (collectively, the “Related Actions”). The

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  33 actions allege a putative class of exclusively direct purchasers, five actions allege a putative class of exclusively
indirect purchasers, and three actions allege a putative class of both indirect and direct purchasers.
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majority (26 complaints) were filed in this District, and 15 additional cases were filed across the
Northern District of California, the Northern District of Illinois, the District of Minnesota, and the
Western District of Pennsylvania.

       On June 7, 2024, the Judicial Panel on Multidistrict Litigation ordered that all 41 Related
Actions be consolidated before this Court. See Dkt. 1 at 1. The Related Actions are still in the
process of being transferred and consolidated, in part pending resolution of an objection filed on
June 20, 2024, by Plaintiff Whiteside. See In Re: Apple Inc. Smartphone Antitrust Litigation,
MDL No. 3113, Dkt. 120.

       Mr. Cecchi’s June 20, 2024 Letter

        On June 20, 2024, without first meeting and conferring with Apple, Mr. Cecchi sent a letter
to Your Honor purporting to “provide the Court with an abbreviated background of the litigation
and to propose the entry of an initial Case Management Order regarding the organization and
conduct of this MDL for the direct purchaser cases.” Dkt. 2 at 1. It was only after Mr. Cecchi
filed the letter that he shared a copy with Apple’s counsel to ask if Apple had “any questions”
about the proposed CMO. Apple submits that Mr. Cecchi’s letter and proposed CMO are
premature. Any discussion of case management should follow the complete transfer of all lawsuits
in the MDL and include input from all parties in the Related Actions. In light of that, and in order
to proceed fairly and efficiently, Apple respectfully recommends the following sequencing prior
to entry of any CMO:

           1. The process of transferring the Related Actions is completed, including resolution
              of the objection filed by Plaintiff Whiteside;
           2. The Court appoint class coordination counsel for the direct and indirect plaintiffs’
              groups, or at least interim class coordination counsel, to speak on behalf of plaintiffs
              in the Related Actions regarding scheduling and case management matters; and
           3. Coordination counsel (once appointed) and Apple meet and confer regarding a
              proposed case schedule and case management structure, and submit a proposed
              CMO for the Court’s consideration.

        Apple submits that this process will allow all parties to provide input regarding case
management in an efficient and orderly fashion, and will help facilitate coordination, as
appropriate, of the schedule in this MDL with the schedule in the United States’ lawsuit. In the
meantime, Apple does not object to the entry of an order scheduling briefing on the appointment
of class coordination counsel. Apple thanks the Court for its consideration.

                                               Respectfully submitted,

                                               s/Liza M. Walsh

                                               Liza M. Walsh

cc:    Hon. Leda Dunn Wettre
       All Counsel of Record (via ECF)
